               Case 3:19-cv-01966-KAD          Document 306       Filed 04/24/25      Page 1 of 1
                           UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICUT
                                          CIVIL STANDARD MINUTES

     4/24/2025
Date ________________________________                      3:19-cv-01966-KAD
                                                    Case #_______________________________________________
                                                                     Maria E. Garcia
                                                     Honorable Judge ______________________________________
             Saifullah Khan
______________________________________                            Sarah Santos
                                                     Deputy Clerk _________________________________________
                     Vs.                                                Alexander T. Taubes
                                                     Counsel for Pla(s) _____________________________________
           Yale University, et al
________________________________________                                Noonan, Laurato & Gooley
                                                     Counsel for Dft(s) _____________________________________
Start Time__________        10:16 am
          10:03 am End Time ____________                                      Courtsmart
                                                     Reporter/ECRO/Courtsmart _____________________________
Recess (if more than ½ hr) ________ to _________     Interpreter______________________ Language ____________
                           13
Total Time ________hour(s) ________minute(s)         Hearing held  in person   ✔ by video       by telephone



HEARING AND TIME
 տ Motion/Oral Argument     3
                            ____     ‫ ܆‬Show Cause Hearing         ____    տ Evidentiary Hearing           ____
 տ Judgment Debtor Exam     ____     տ Pretrial Conference        ____    տ Scheduling Conference         ____
 տ Status Conference        10
                            ____     տ Settlement Conference      ____    տ Other: ________________        ____

MOTIONS
            for Extension (#304)
տ Motion _________________________________filed    by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ Brief(s) due ________________ տ Proposed Findings due ________________ Response due _______________
տ Status report due ___________________________
տ Hearing continued until _________________ at _______________

NOTES
Follow-up discovery status conference to be calendared.




Rev. 3/21/24
